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            UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF GEORGIA
                    GAINESVILLE DIVISION


FAIR FIGHT INC., JOHN DOE, and
JANE DOE,
                Plaintiffs,               Case No. 2:20-cv-00302-SCJ

     v.
TRUE THE VOTE, CATHERINE
ENGELBRECHT, DEREK
SOMERVILLE, MARK DAVIS, MARK
WILLIAMS, RON JOHNSON, JAMES
COOPER, and JOHN DOES 1-10,
                Defendants.


    PLAINTIFFS’ MEMORANDUM IN SUPPORT OF TEMPORARY
    RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION
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                                 INTRODUCTION

      Plaintiffs have moved for a temporary restraining order and/or preliminary

injunction to put an end to the campaign of harassment, intimidation, and frivolous

challenges initiated by Defendants True the Vote and others working in concert with

them (collectively, “Defendants” or “True the Vote”). For the last two weeks, as

Georgia voters returned to the polls for the January 5, 2021, runoff elections, True

the Vote and its supporters have taken drastic measures to deter and intimidate voters

and undermine confidence in the electoral system. Most recently, Defendants

coordinated a highly publicized, statewide attack on the eligibility of over 364,000

Georgia voters. The attack has left thousands of lifelong Georgia residents falsely

accused of illegal voting, in fear that casting a ballot will incur criminal penalties.

Defendants’ conduct plainly violates § 11(b) of the Voting Rights Act, which

protects voters from intimidation and harassment.

      There is no do-over once the election has passed and voters have been deterred

from the polls for fear of reprisal or harassment. Immediate injunctive relief is both

appropriate and necessary to prevent any further irreparable harm to Plaintiffs and

countless Georgians whose voting rights have been knowingly and intentionally

placed in jeopardy with little time to spare before the runoff elections.




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                             STATEMENT OF FACTS

I.    Following the November election, false claims of voter fraud have been
      willfully propagated, directly resulting in intimidation and harassment
      of voters and election workers.

      In the wake of the November election, a small but fervent number of

organizations and individuals have willfully bred false claims that the election was

plagued with fraudulent and illegal voting. Not only are these claims unfounded,

they have been repeatedly proven false. Nevertheless, there remains a zealous

contingency that refuses to be dissuaded by fact or evidence that their proselytizing

is doing real, unmitigated damage, not just to our democratic systems writ large, but

to individual voters and election workers, many of whom have found themselves the

targets of menacing harassment as a direct result of these false claims. Among those

most dedicated to spreading these false claims are True the Vote, a Texas-based

group that touts itself as a “nonpartisan, voter’s rights and election integrity

organization.” Ex. 23. In reality, True the Vote has spent over a decade making

baseless claims about widespread voter fraud and launched unfounded attacks on the

eligibility of thousands of lawful voters. See Exs. 6-7.

      In the weeks that followed the November general election, True the Vote

turned its sights on Georgia. On November 11, it filed litigation in federal district

court, in which it claimed that tens of thousands of ineligible voters cast illegal


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ballots in Georgia’s general election for President-elect Joe Biden. See Brooks v.

Mahoney, No. 4:20-cv-00281, Compl., ECF No. 1 (S.D. Ga. Nov. 11, 2020). But

rather than make its case in court, where it would have to prove its claims and its

“evidence” would be tested, True the Vote voluntarily dismissed its case just four

days later. See Brooks v. Mahoney, No. 4:20-cv-00281, Notice of Voluntary

Dismissal, ECF No. 20 (S.D. Ga. Nov. 16, 2020). 1

      True the Vote was not alone in its attempts to sow doubt about Georgia’s

election results. Its efforts mirrored those of Sidney Powell, who famously

announced she intended to “release the Kraken,” and prove illegal voting had tainted

the election, as well as L. Lin Wood, Jr., who, when his litigious efforts to overturn

the clear decision of Georgia voters failed, publicly called for the imposition of

martial law. Exs. 15, 16. None of the suits that claimed that Georgia’s election results

were anything but legitimate were able to withstand even the slightest bit of scrutiny.

See, e.g., Wood v. Raffensperger, No. 2020-CV-342959 (Ga. Super. Ct., Fulton

Cnty. Dec. 8, 2020) (dismissing case alleging tens of thousands of out-of-state

residents illegally voted in Georgia’s General Election); Order, Bolland v.


1
 True the Vote brought similar cases in Pennsylvania, Michigan, and Wisconsin.
None were successful. See Pirkle v. Wolf, No. 4:20-cv-02088, ECF No. 20 (M.D.
Pa. Nov. 16) (True the Vote dismissing case); Bally v. Whitmer, No. 4:20-cv-02088,
ECF No. 16 (W.D. Mich. Nov. 16, 2020) (same); Langenhorst v. Pecore, No. 1:20-
cv-1701, ECF No. 26 (E.D. Wisc. Nov. 16, 2020) (same).

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Raffensperger, No. 2020-CV-343018 (Ga. Super. Ct., Fulton Cnty. Dec. 8, 2020)

(dismissing case and finding plaintiffs’ claim that tens of thousands of people

illegally voted in Georgia based on the National Change of Address registry was

based on “speculation rather than duly pled facts”); Pearson v. Kemp, No. 1:20-cv-

04809-TCB, ECF No. 74 (N.D. Ga. Dec. 7, 2020) (dismissing case alleging the

National Change of Address registry showed over 20,000 ineligible votes cast ballots

in Georgia’s election).

      While such claims of widespread fraud have not succeeded in court, they

have had real consequences. A Fulton County election worker was forced to go into

hiding after he was falsely accused of discarding a ballot and his personal

information, including his license plate, was posted online. See Ex. 10. One

Gwinnett County election worker was accused of being a traitor and threatened with

a noose. See Ex. 11. Incidents like these led one Republican Georgia election

official to plead with the public in a press conference in early December that

“[s]omeone is going to get hurt, someone is going to get shot, someone is going to

get killed” if these feverish claims do not stop. Ex. 9. And yet Defendants have

continued to feed this frenzy.

II.   Defendants have now launched a coordinated campaign to harass and
      intimidate voters across Georgia.



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      A.     The “Landmark” Voter Challenge Program
      In the wake of the wave of losses that groups and individuals alleging voter

fraud suffered in their litigation following the general election—which, as of today,

amount to more than fifty losses in court2—True the Vote has chosen to forego the

courts all together, pivoting to a strategy of mass challenges of voter eligibility

submitted directly to Georgia’s boards of elections themselves. While True the Vote

has previously launched similar attacks on the right to vote on a smaller scale in

other states, see Exs. 6, 17-19, its present efforts in Georgia are notable for their

breathtaking scale and clearly calculated timing. 3 On December 18—after voting

was already well underway in Georgia’s Senate runoff election—True the Vote

announced it was mounting a “landmark coordinated” effort “to preemptively

challenge 364,541 potentially ineligible voters” across the State’s 159 counties. Ex.


2
  Jim Rutenberg, Trump’s Fraud Claims Died in Court, but the Myth of Stolen
Elections Lives On, N.Y. TIMES (Dec. 26, 2020), available at:
https://www.nytimes.com/2020/12/26/us/politics/republicans-voter-
fraud.html?action=click&module=Top%20Stories&pgtype=Homepage
3
  To give just a few examples, True the Vote famously attempted, through its spinoff
organization the Ohio Voter Integrity Project, to have elections officials remove
more than 2,100 voters from voter rolls in Ohio in 2012. Ex. 18. Local election
officials found these efforts to be unfounded and rejected the challenges. Id. It also
challenged the rights of eight members of an African American family, which it
claimed had registered to vote using an address of a vacant lot in Cincinnati.
However, the address was actually that of the family’s home, for over three decades.
Id. Voter eligibility challenges driven by True the Vote in North Carolina, Maryland,
and Wisconsin were also rejected for faulty evidence. Ex. 19.

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1. With assistance from individual electors, including Defendants Derek Somerville,

Mark Davis, Mark Williams, Ron Johnson, and James Cooper among others, True

the Vote has asserted these indiscriminate mass challenges in at least 85 counties to

date, using lists of voters in each county—sometimes numbering in the tens of

thousands—that they purport to have created by comparing Georgia’s voter

registration database to the U.S. Postal Service’s National Change of Address

(NCOA) registry. See Ex. 1, Ex. 8.

      These challenges have already been rejected in multiple counties and most

recently by a federal court, for good (and obvious) reasons. Just yesterday, in a

lawsuit filed against the Ben Hill and Muscogee County election boards, the Middle

District of Georgia held that the challenges could not be lawfully sustained under

the National Voter Registration Act, and that requiring the challenged voters to re-

prove their eligibility would likely violate their constitutional rights. See Order,

Majority Forward v. Ben Hill Cty Bd. of Elections, No. 1:20-cv00266-LAG, ECF

No. 12 at 7 (N.D. Ga. Dec. 28, 2020). The Court also found that sustaining the

challenges risked disenfranchising thousands of voters, as the process for resolving

such disputes can deter eligible Georgians from voting. See id.

      Georgia law further confirms that the recent spate of residency-based

challenges is meritless, as the law does not require a voter to reside at their


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permanent in-state residence in order to cast a ballot. See O.C.G.A. § 21-2-217

(describing, for example, that one does not lose residency for voting purposes if one

moves away temporarily, is away attending college or university, has moved for

government service, among other reasons). Thus, any Georgia voter who

temporarily relocated during the pandemic to be closer to family or care for someone

ill, or who moved for a few months to take college classes, or to work a summer job,

or for any other number of perfectly valid reasons, may request to receive mail at

any other address—even outside the state—without forfeiting their right to vote in

the county where they are registered. There is nothing irregular or unusual about

voting while outside of one’s voting jurisdiction; indeed, the availability of absentee

voting accommodates exactly that. See O.C.G.A. § 21-2-380(b). For precisely this

reason, among others, the NCOA registry is a notoriously unreliable means of

determining voter eligibility; the database offers no explanation of why any

individual requested a change of address, which is critical to determine whether that

individual has lost their right to vote in Georgia elections. See Ex. 21 at 2 (describing

the NCOA registry as an “error-ridden list”), Ex. 22 (claims of voter fraud based on

cross-referencing names and addresses of voters with the National Change of

Address database were unsubstantiated).




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      Because the NCOA registry is such an unreliable means of determining voter

eligibility, federal law further prohibits states from removing voters from

registration rolls on the ground that the individual is suspected to have moved unless

strict procedures are followed. Specifically, “[a] State shall not remove the name of

a registrant from the official list of eligible voters in elections for Federal office on

the ground that the registrant changed residence unless” (1) the State receives written

confirmation from the voter of change of address, or (2) the voter fails to respond to

a postcard notice, and also fails to vote in at least two subsequent federal general

election cycles. 52 U.S.C. § 20507(d).

      To endorse Defendants’ challenges would mean that simply being away from

home (or receiving mail outside one’s permanent home) establishes probable cause

that a voter is ineligible—which is nonsensical in light of the election procedures

(i.e., absentee voting) that have been designed specifically to facilitate voting by

absent residents. See O.C.G.A. §§ 21-2-380(b), 21-2-384. The purpose of these

challenges is not to present evidence that the over 364,000 voters who are the victims

of these challenges (the “Targeted Voters”) are ineligible, but rather to raise the

specter that certain Georgia voters are “illegal” and should not be permitted to vote

notwithstanding the absence of any legal support for such claims.




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      While Defendants’ “landmark” voter challenge efforts have already been

rejected by many counties, with more likely to follow, calling more than 364,000

voters’ eligibility into doubt has real (and dangerous) consequences. When

Defendants submit these lists of challenged voters, they become part of the public

record, and predictably make their way online. See, e.g., Ex. 12 (Cobb County

publishing challenge list online). In fact, an individual claiming to work with True

the Vote online has already threatened that “[i]f the Georgia counties refuse to handle

the challenges of 366,000 ineligible voters in accordance with the law, I plan to

release the entire list so America can do the QC.” Ex. 2. In this current political

environment, in which cries of voter fraud have reached a fever pitch and have

resulted in in doxing, harassment, and death threats, see supra at 5, these are serious

accusations. Indeed, this is precisely the reason Plaintiffs John and Jane Doe are

proceeding in this suit anonymously.

      B.     The Voter Monitoring Program and Million Dollar Bounty

      To complement Defendants’ mass voter challenges, and to ensure that they

will be able to “monitor” voters in the Senate Runoff, Defendants are recruiting

volunteers to personally watch voters return ballots to drop box locations as part of

their effort to implement the “most comprehensive ballot security initiative in




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Georgia history.” Ex. 3. Promises such as these are alarming, particularly given True

the Vote’s history of harassing voters at the polls. See Exs. 6-7.

      Along with this live monitoring effort, True the Vote also created a “election

integrity hotline” which will be available to “citizen watchdogs” “24 hours a day,

seven days a week” to respond and “take action” as necessary. Ex. 3. True the Vote

described this effort as “the most aggressive election integrity operation in American

history.” Ex. 13. As a final touch, True the Vote also announced a program called

“Validate the Vote”—an innocuous sounding initiative which allegedly established

a $1 million reward fund to “incentivize” individuals to report instances of “election

malfeasance.” Ex. 4.

      In sum, Defendants have now published lists of hundreds of thousands of

Georgians who they claim are ineligible to vote, recruited volunteers to monitor

voters as they return their ballots, urged “citizen watchdogs” to take photos and

videos of voters who are exercising their fundamental right to vote under the

pretenses of documenting “illegal” activity, and have now offered their supporters a

one million dollar bounty as incentive to accuse individuals of voting illegally. The

collective impact of these efforts is to expose thousands of lawful Georgia voters to

the threat of harassment from Defendants’ supporters who may take it upon




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themselves to “catch and expose” what they erroneously perceive to be illegal

voting, or to suppress votes outright.

                                    ARGUMENT

      To obtain preliminary injunctive relief, Plaintiffs must establish that (1) they

are likely to succeed on the merits; (2) they are likely to suffer irreparable injury in

the absence of preliminary relief; (3) the balance of equities tips in their favor; and

(4) the requested injunction in in the public interest. See Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008). The same standard applies to a temporary

restraining order. See, e.g., Wellons v. Comm’r, Ga. Dep’t of Corr., 754 F.3d 1260,

1263 (11th Cir. 2014). Each factor weighs strongly in favor of relief in this case.

I.    Plaintiffs are likely to succeed on the merits of their claims.

      A.     Defendants’ conduct violates § 11(b) of the Voting Rights Act.

      Plaintiffs are likely to prevail on their claim that Defendants have violated §

11(b) of the Voting Rights Act (VRA), codified at 52 U.S.C. § 10307(b). Section

11(b) provides in relevant part: “No person, whether acting under color of law or

otherwise, shall intimidate, threaten, or coerce, or attempt to intimidate, threaten, or

coerce any person for voting or attempting to vote.” 52 U.S.C. § 10307(b).

      To prove a § 11(b) violation, Plaintiffs must show that Defendants’ conduct

is objectively intimidating or threatening to voters. The operative words of § 11(b)—


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to “intimidate,” “threaten,” and “coerce,” or to attempt to do so—should be given

their commonly understood meaning. See Taniguchi v. Kan Pac. Saipan, Ltd., 566

U.S. 560, 566 (2012) (unless otherwise defined in the statute, statutory terms are to

be given their “ordinary meaning”). To “intimidate” is to “make timid or fearful” or

to “compel or deter or as if by threats,” to “threaten” is to “utter threats against” or

“cause to feel insecure or anxious,” and to “coerce” is to “compel to an act or choice”

or “achieve by force or threat.”4 Thus, by the plain language of the statute, § 11(b)’s

protections are not limited to overt acts of violence and pure physical force; it also

prohibits acts of intimidation which involve no physical threat of bodily harm. See,

e.g., Cameron v. Johnson, 262 F. Supp. 873, 897 (S.D. Miss. 1966), aff’d, 390 U.S.

611 (1968) (finding threat of criminal prosecution for voting sufficient for voter

intimidation); see also United States v. Nguyen, 673 F.3d 1259, 1261 (9th Cir. 2012)

(finding violation of California criminal voter intimidation statute where defendant

mailed letters to voters with Hispanic surnames, warning that their personal

information would be made available to organizations that were “against

immigration”). More recently, a federal court held plaintiffs had stated a valid claim

under § 11(b) where the defendants published names of allegedly ineligible voters,



4
 Definitions available at https://www.merriam-webster.com/ (last accessed Dec. 29,
2020).

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subjecting those voters to “fear of harassment” from those who might believe or act

on defendants’ publication. League of United Latin Am. Citizens - Richmond Region

Council 4614 v. Pub. Interest Legal Found. (“LULAC”), No. 1:18-CV-00423, 2018

WL 3848404, at *4 (E.D. Va. Aug. 13, 2018).

      Defendants’ conduct easily violates the plain language of § 11(b). As in

LULAC, Defendants have created circumstances that are objectively likely to result

in voter intimidation. Not only have some of their challenged lists been published

online—indeed, they may be considered part of the public record—threats of doxing

and harassment have already begun to emerge. See Ex. 2 (individual claiming to

work with True the Vote stating that “[i]f the Georgia counties refuse to handle the

challenges of 366,000 ineligible voters in accordance with the law, I plan to release

the entire list so America can do the QC”); see also Ex. 20 (same individual stating:

“Ok America. I’m done. We are going to start publishing the list of ineligible GA

for all to review.”). In addition to the serious risk of harassment that they now face

as a result of Defendants’ conduct, voters on these lists may also now be confused

as to whether they are entitled to vote, even if they are a fully eligible and lawful

Georgia voter. As one court explained in considering a similar mass challenge effort

by the Montana Republican Party to voters based on change of address data, “[o]ne

can imagine the mischief an immature political operative could inject into an election


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cycle were he to use the [challenge] statutes, not for their intended purpose of

protecting the integrity of the people’s democracy, but rather to execute a tawdry

partisan ploy.” Mont. Democratic Party v. Eaton, 581 F. Supp. 2d 1077, 1079 (D.

Mont. 2008). “Voters might be intimidated, confused, or even discouraged from

voting upon receiving notice that their right to vote—the most precious right in a

government of, by, and for the people—has been challenged.” Id. Similarly, just this

past week, the Southern District of Georgia refused to grant the Georgia Republican

Party’s request to segregate certain ballots until those voters’ eligibility could be

confirmed. See Order Dismissing Case, Georgia Republican Party v. Raffensperger,

No. 2:20-CV-00135, ECF No. 31. (S.D. Ga. Dec. 18, 2020). As the court indicated

at the hearing in that case, segregating ballots could lead to “voter suppression”—

that is, “amid the confusion, there might be voters who are confused about what it

means to have your vote set aside for possible later questioning.” Ex. 25 at 75:15-

18. Indeed, that is precisely what has happened and is happening here. This

intimidation has been and (absent an injunction from this Court, will continue to be)

the wholly predictable consequence of Defendants’ actions.

      To be sure, Plaintiffs need not show that Defendants intended to intimidate

voters to obtain relief. While the VRA’s predecessor voter intimidation statute, the

Civil Rights Act of 1957, prohibited any person from intimidating voters, or


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attempting to intimidate voters, “for the purpose of interfering with [the right to

vote],” 52 U.S.C. § 10101(b) (emphasis added), Congress removed this purpose

requirement when it passed § 11(b). This was not an accident or oversight. In

testimony before the Senate Judiciary Committee, then-Attorney General

Katzenbach explained that § 11(b) “represents a substantial improvement over [the

Civil Rights Act],” which now prohibits voting intimidation. Voting Rights, Part 1:

Hearings on S. 1564 Before the S. Comm. on the Judiciary, 89th Cong. 16 (1965).

Attorney General Katzenbach expressly noted that, “under [the VRA] no subjective

‘purpose’ need be shown, in either civil or criminal proceedings, in order to prove

intimidation . . . Rather, defendants would be deemed to intend the natural

consequences of their acts.” Id. (emphasis added). The House Report adopted this

reasoning, explaining, “unlike [the Civil Rights Act] (which requires proof of a

‘purpose’ to interfere with the right to vote) no subjective purpose or intent need be

shown.” H. Rep. No. 89-439 at 30, 89th Congress, 1st Sess. 32 (1965); see also

Cameron, 262 F. Supp at 884 n.9 (comparing both statutes and concluding the VRA

does not require proof of a “purpose” to interfere with the right to vote, as the Civil

Rights Act does); Whatley v. City of Vidalia, 399 F.2d 521, 526 (5th Cir. 1968)

(concluding Congress “broadened the law in 1965 by adopting [§ 11(b)]”). And, in

fact, in this case, it cannot be seriously disputed that voter intimidation is the natural


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consequence of Defendants’ actions. As another federal court observed when it

prohibited the national Republican Party from engaging in similar “ballot security”

measures:

      [I]t is all but certain that anti-fraud initiatives . . . will result in the
      disenfranchisement of many individuals whose eligibility is not in
      question. Some voters—especially in minority districts where the
      legacy of racism and history of clashes between the population and
      authorities has given rise to a suspicion of police and other officials—
      may choose to refrain from voting rather than wait for the qualifications
      of those ahead of them to be verified, especially if the verification
      process becomes confrontational.

Democratic Nat’l. Comm. v. Republican Nat’l. Comm., 671 F. Supp. 2d 575, 612

(D.N.J. 2009), aff’d, 673 F.3d 192 (3d Cir. 2012).

      It should also be noted that Defendants’ activity does not need to actually deter

voters from the polls en masse to constitute unlawful intimidation. See United States

v. Clark, 249 F. Supp. 720, 728 (S.D. Ala. 1965) (explaining activity which

discouraged voters from voting is actionable under Civil Rights Act, but also noting

“[t]he success or failure of intimidation, threats or coercion, is immaterial, since

‘attempts’ are equally proscribed”). Nor do Plaintiffs need to show that Defendants

were motivated by discriminatory animus. While many parts of the VRA were

intended “to banish the plight of racial discrimination in voting,” South Carolina v.

Katzenbach, 383 U.S. 301, 308 (1966), Congress explicitly invoked the Elections

Clause of the Constitution, not the Fifteenth Amendment, when it passed § 11(b) of

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the VRA. See H. Rep. No. 89-439 (1965) at 30-31; see also id. at 30 (“The prohibited

acts of intimidation [under the VRA] need not be racially motivated.”). In light of

both the plain text of § 11(b) and this legislative history, multiple courts have held

that § 11(b) does not require proof of racial discrimination. See Willingham v. Cty.

of Albany, 593 F. Supp. 2d 446, 462 (N.D.N.Y. 2006); Cameron, 262 F. Supp. 873

at 884 n.9. Nevertheless, as noted above, Defendants must be presumed to know the

likely consequences of their acts. And the unavoidable reality is that the false flags

of voter fraud upon which Defendants’ mass “challenges” rest are deeply planted in

a disgraceful history of racial discrimination in voting, a problem that is especially

prevalent in the American South. See, e.g. Ne. Ohio Coal. for the Homeless v.

Husted, No. 2:06-CV-896, 2016 WL 3166251, at *28 (S.D. Ohio June 7, 2016), aff’d

in part, rev’d in part, 837 F.3d 612 (6th Cir. 2016) (practices purportedly aimed at

combatting voter fraud have “a pernicious history of intimidation of minority

voters”).

       Ultimately, because Plaintiffs have shown Defendants have engaged in

conduct which has had (and will continue to have) an intimidating effect on voters,

Plaintiffs are likely to succeed on the merits of their claim. This factor weighs in

favor of their request for relief.




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      B.     This Court can issue the requested injunction even if voter
             challenges are ostensibly permitted by state law.

      While the Elections Clause of the Constitution gives states the primary

responsibility for setting the “Times, Places, and Manner” of federal elections, it

also gives Congress the ultimate power to “at any time by Law make or alter such

Regulations . . .” U.S. Const. art. I. § 4. As the Supreme Court explained in Smiley

v. Holm:

      It cannot be doubted that these comprehensive words embrace authority
      to provide a complete code for congressional elections, not only as to
      times and places, but in relating to notices, registration, supervision of
      voting, protection of voters, prevention of fraud and corrupt practices,
      counting of votes, duties of inspectors and canvassers, and making and
      publication of election returns: in short, to enact the numerous
      requirements as to procedure and safeguards which experience shows
      are necessary in order to enforce the fundamental right involved.

285 U.S. 355, 366 (1932) (emphasis added). More recently, the Supreme Court

confirmed that “[t]he Clause empowers Congress to pre-empt,” “alter,” or

“supplant” state statues regulating federal elections. Indeed, “[t]he power of

Congress over the ‘Times, Places and Manner’ of congressional elections ‘is

paramount, and may be exercised at any time, and to any extent which it deems

expedient . . .’” in Arizona v. Inter Tribal Council of Arizona, Inc., 570 U.S. 1, 8-9

(2013) (quoting Ex parte Siebold, 100 U.S. 371, 392 (1880)).




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      When Congress passed § 11(b), it explicitly invoked the Elections Clause as

the basis for its authority. See H. Rep. No. 89-439 (1965) at 30-31 (“The power of

Congress to reach intimidation by private individuals . . . derives from article I,

section 4”); see also United States v. Simms, 508 F. Supp. 1179, 1186–87 (W.D. La.

1979) (holding “11(b), part of which now constitutes § 1973i(c), was enacted as part

of Congress’ authority to make ‘necessary and proper’ legislation to their

Constitutional power to regulate federal elections under Article I, Section 4 of the

Constitution”); United States v. Sayre, 522 F. Supp. 973, 976 (W.D. Mo. 1981)

(same). As a result, Defendants cannot use Georgia’s voter challenge laws as a

shield: if those laws allow for voter intimidation that violates § 11(b), they are

preempted. Teper v. Miller, 82 F.3d 989, 999 (11th Cir. 1996) (Georgia statute that

had the effect of limiting the time for making contributions to candidates for federal

office preempted by the Federal Election Campaign Act), see also Craig v. Simon,

980 F.3d 614, 617 (8th Cir. 2020) (Minnesota Nominee Vacancy Statute preempted

by federal law setting date for federal elections).

      To be clear, Georgia law does not endorse the broad, indiscriminate, mass

challenges advanced by Defendants, but even if it did, such actions must also comply

with federal laws proscribing voter intimidation—and they clearly do not. See 42

U.S.C. § 1985(3); 52 U.S.C. § 10307(b); Inter Tribal Council of Ariz., 570 U.S. 1;


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cf. United States by Katzenbach v. Original Knights of the Ku Klux Klan, 250 F.

Supp. 330, 348 (E.D. La. 1965) (noting that “acts otherwise lawful may become

unlawful and be enjoined under [the Civil Rights Act’s voter intimidation provision]

if the purpose and effect of the acts is to interfere with the right to vote”). 5 That state

law may provide the mechanism to file voter challenges does not give Defendants

the right to file frivolous challenges—much less against over 364,000 Georgians,

just two weeks before the state’s Senate Runoff—when the obvious consequence is

the intimidation of voters across the state. See 52 U.S.C. § 10307(b).

       Finally, to find that Defendants’ activity is proscribed and pre-empted by

federal law under Congress’s Elections Clause Power, this Court need not find that

Congress explicitly outlawed these kinds of challenges. To the contrary, the

Supreme Court recently clarified that the normal presumption against pre-emption

does not apply to the Elections Clause because the sole purpose of the Elections

Clause was explicitly to preempt states’ electoral regulations. See Inter Tribal

Council of Ariz., 570 U.S. at 13-14. As the Supreme Court explained:

       There is good reason for treating Elections Clause legislation
       differently: The assumption that Congress is reluctant to pre-empt does
       not hold when Congress acts under that constitutional provision, which
5
  Because the Civil Rights Act requires a showing of purpose, see supra at 15,
Katzenbach’s invocation of “purpose” is inapplicable to § 11(b), which prohibits
activity which has an objectively intimidating effect on voters, regardless of its
intended purpose.

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      empowers Congress to ‘make or alter’ state election regulations. Art. I,
      § 4, cl. 1. When Congress legislates with respect to the ‘Times, Places
      and       Manner’      of    holding       congressional     elections,
      it necessarily displaces some element of a pre-existing legal regime
      erected by the States.

Id. at 14. For all of these reasons, the Court should find that Defendants have

engaged (or will engage) in unlawful voter intimation under the VRA and should

immediately enjoin the Defendants from intimidating voters. Filing such challenges

is a privilege, not a right. Defendants have manifestly abused that privilege.

II.   Plaintiffs will suffer irreparable harm in the absence of relief.

      In the absence of injunctive relief, Defendants’ voter challenges are likely to

irreparably injure Plaintiffs. Infringements or abridgements on the right to vote

necessarily constitute irreparable harm because they cannot be remedied after the

election. See, e.g., League of Women Voters of North Carolina v. North Carolina,

769 F.3d 224, 244 (4th Cir. 2014) (finding irreparable injury based on threatened

injury to North Carolina’s minority voters and explaining, “once the election occurs,

there can be no do-over and no redress”); Council of Alternative Political Parties v.

Hooks, 121 F.3d 876, 883 (3d Cir. 1997) (finding irreparable harm based on alleged

denial of “voting and associational rights” because those rights “cannot be alleviated

after the election”). For that reason, courts have easily found irreparable harm

satisfied where Plaintiffs have alleged voter intimidation. As one court explained:


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      [I]f potential members of the electorate suffer intimidation, threatening
      conduct, or coercion such that their right to vote freely is abridged, or
      altogether extinguished, Plaintiff would be irreparably harmed. Further,
      if some potential voters are improperly dissuaded from exercising their
      franchise, it is unlikely those voters can be identified, their votes cannot
      be recast, and no amount of traditional remedies such as money
      damages would suffice after the fact.

Ariz. Democratic Party, No. 2:16-cv-03752, ECF No. 31 at 21 (D. Ariz. Nov. 4,

2016). The same is true here. Defendants’ conduct cannot be adequately remedied

after voters have already been made fearful to exercise their right to vote and the

January election has come and gone.

      Additionally, if the challenges continue, Fair Fight must divert resources to

help Georgians as they navigate these challenges and ensure Georgians are not

disenfranchised or dissuaded by them. See Declaration of Lauren Groh-Wargo, Ex.

24, ¶¶ 13-14. This, too, constitutes irreparable harm. See, e.g., Ga. Coal. for People’s

Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251 1268 (N.D. Ga. 2018) (finding

irreparable harm where “[p]laintiffs’ organizational missions . . . will continue to be

frustrated and organization resources will be diverted to [address the challenged

law]” . . . “[s]uch mobilization opportunities cannot be remedied once lost”).




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III.   The balance of the equities favors Plaintiffs and preliminary relief is in
       the public interest.
       A.    Defendants’ conduct undermines electoral integrity.

       While Defendants claim to engage in these efforts in the name of “ballot

security,” courts across the country have examined these claims of widespread voter

fraud in the 2020 General Election and have universally found they are without

merit. For this reason, among many others, Defendants’ efforts to catch and expose

“illegal voting” in the Senate Runoff in no way ensures “electoral integrity” in

Georgia’s elections. Indeed, the state of Georgia has been more aggressive than most

other states in purging its voter lists to ensure that ineligible voters do not remain on

the voter registration rolls. See Ex. 14 (describing Georgia’s purge of 500,000 voters

in 2018 as one of the largest purges in American history).

       History shows that voter intimidation efforts themselves compromise the

integrity of our nation’s elections. Certain “ballot security” efforts, much like

Defendants’ mass challenges, “present[] an ongoing threat to the participation of

minority individuals in the political process, and continue[] to pose a far greater

threat to the integrity of that process than the type of voter fraud the [Defendant] is

prevented from addressing by [engaging in ballot security efforts].” Democratic

Nat’l Comm., 671 F. Supp. 2d at 578-79. Here, too, Defendants’ vigilante efforts

squarely do not ensure electoral integrity—they undermine it.


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      B.     The public interest is advanced by ensuring voters can participate
             in elections free from intimidation, as federal law guarantees.

      The temporary relief that Plaintiffs seek would enforce federal law securing

the right to vote, which clearly advances the public interest. “[V]oter intimidation

and coercion [are] . . . obvious harm[s] that federal law strongly and properly

prohibits.” United States v. Madden, 403 F.3d 347, 352 (6th Cir. 2005) (Boggs, C.J.,

concurring in part and dissenting in part); see also Russell v. Lundergan-Grimes,

784 F.3d 1037, 1051 (6th Cir. 2015) (voters have a “right against voter

intimidation”—“the right to cast a ballot free from threats or coercion”). The

constitutional interest at stake in this litigation is the voters’ “most precious” “right

. . . , regardless of their political persuasion, to cast their votes effectively” and free

of intimidation. Williams v. Rhodes, 393 U.S. 23, 30-31 (1968). The interest in

“protecting voters from confusion and undue influence” is “compelling,” Burson v.

Freeman, 504 U.S. 191, 199 (1992) (plurality opinion of Blackmun, J.), and laws

that protect voters from intimidation safeguard the “fundamental political right . . .

preservative of all rights,” Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886).

       To ensure that elections in the United States would be free from harassment

and intimidation, Congress created specific tools—the laws that Plaintiffs invoke

here. These laws were not written to create illusory rights; they were written to

ensure that the intimidation and violence that plagued our nation’s elections

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throughout the nineteenth and twentieth century did not persist into our future.

Defendants cannot be permitted to engage in conduct that threatens the most basic

right in American democracy. “[O]ther rights, even the most basic, are illusory if the

right to vote is undermined.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964).

                                  CONCLUSION

      For the foregoing reasons, Plaintiffs’ motion for a temporary restraining order

should be granted.

    Dated this 29th day of December, 2020.
                                               Respectfully Submitted,


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